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BRIDGEPORT MUSIC, INC,

Plaintiff,
Vv.

CASH MONEY RECORDS, INC.,, et al.,

Defendants.

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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

Case No. CV 11-04952 PA (MRWx)
NOTICE OF SETTLEMENT

Final Pretrial Conf: 06/15/12

Trial Date: 07/17/12

HONORABLE PERCY ANDERSON

TO THE COURT AND ALL THE PARTIES:

PLEASE TAKE NOTICE that at the parties’ mediation on March 15, 2012, this
entire action was resolved, subject to final, confidential written documentation, by and
between Plaintiff BRIDGEPORT MUSIC, INC. and all Defendants CASH MONEY
RECORDS, INC.; UMG RECORDINGS, INC. individually and d/b/a

UNIVERSAL MOTOWN REPUBLIC GROUP; BRYAN WILLIAMS p/k/a

NOTICE OF SETTLEMENT

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\ BIRDMAN; DWAYNE MICHAEL CARTER, JR. p/k/a LIL WAYNE;
UNIVERSAL MUSIC DISTRIBUTION CORP.; YOUNG MONEY PUBLISHING,
INC.; and WARNER TAMERLANE PUBLISHING CORP. (collectively “the
Parties”), and that the Parties are in the process of preparing such final, confidential
|documentation. To that end, the Parties expect to have the confidential Settlement

|| Agreement executed on or before April 1, 2012.

This Notice of Settlement documents that this case has settled so that all pending
| dates and deadlines may be vacated. The Parties expect to file a Stipulation of
Dismissal on or about April 15, 2012.

DATED: March 19, 2012 Respectfully submitted,
KING & BALLOW

due K—

Paul H. Duvall, Esq.
Attorneys for Plaintiff

DATED: March 19, 2012 By: .

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NOTICE OF SETTLEMENT

